         CASE 0:12-cr-00295-PAM-AJB Doc. 50 Filed 03/27/13 Page 1 of 3


                              LINITED STATES DISTRICT COURT
                                   DISTzuCT OF MINNESOTA
                                Criminal No. l2-295(l) (PAIV{/AJB)

UNITED STATES OF AMERICA.

                          Plaintiff,
                                                                INFORMATION


EzuC WADE FORCIER.

                          Defendant.


T}IE LINITED STATES ATTORNEY CHARGES THAT:

                                           COUNT I
                           (Interference With Commerce By Robbery)

       On or about October 22, 2012, in the State and District of Minnesota, the

defendant,

                                       ERIC WADE FORCIER,

obstructed, delayed, 'and affected commerce, and the movement            of any article or
commodity     in   commerce,       by robbery, namely the unlawful taking or obtaining of
personal property from the person or the presence of another, against his or her    will, by

means of actual or threatened force, or violence, or fear of injury, immediate or future, to

his or her person or property, in violation of Title 18, United States Code, Section 1951.

                                           COUNT 2
                           (Interference With Commerce By   Robbery)                           n'

       On or about October 29, 2012, in the State and District of Minnesota,             the

defendant,

                  It E L.'             ERTi WADE FoRCIER,
      MAR    27    20t3                                         FILED     [rAR 2 7 201s
  U.S. DISTRICT COURT                                           RICHARD D, SLETTEN, CI.ERK
                                                                JUDGMENT ENTERED
                                                                DEPUTY CLERKS   INMiG-
         CASE 0:12-cr-00295-PAM-AJB Doc. 50 Filed 03/27/13 Page 2 of 3
United States v. Eric Wade Forcier



obstructed, delayed, and affected commerce, and the movement             of any article or
commodity     in   commerce,     by robbery, namely the unlawful taking or obtaining of

personal property from the person or the presence of another, against his or her    will, by

means of actual or threatened force, or violence, or fear of injury, immediate or future, to

his orrher person or property, in violation of Title 18, United States Code, Section 1951.

                                           COUNT 3
              (Using, Carrying,      & Brandishing
                                                a n'irearm During Robbery)

        On or about October 29, 2012, in the State and District of Minnesota, the

defendant,

                                     ERICWADE FORCIER,

during and in relation to the crime of violence charged in Count 2 of this Information,

used, carried, and brandished        a.32 caliber FEG semiautomatic pistol, serial number
BK1827, in violation of Title 18, United States Code, Section 924(c).

                                           COUNT 4
                               fFelon in Possession of a Firearm)

        On or about October 29, 2012, in the State and District of Minnesota, the

defendant,

                                     ERICWADE FORCIER,

having previously been convicted         of crimes punishable by imprisonment for a term
exceeding one year, namely:




                                               z
           CASE 0:12-cr-00295-PAM-AJB Doc. 50 Filed 03/27/13 Page 3 of 3
United States v. Eric Wade Forcier




               CHARGE                       COII-VICTION or                  JURISDICTION
                                          ADJUDICATION DATE
 2nd   Degree Drug Possession                November 24,2008            Dakota County, MN


 Possession of Stolen Property                  April 1,2008             Dakota County, MN


 5th   Degree Drug Possession                   May 21,2007              Dakota County, MN

 5s Degree Drug Possession                      May 21,2007              Dakota County, MN

 Fleeing' Police         in a    Motor          May 21,2007              Dakota Countv. MN
 Vehicle



knowingly and intentionally possessed in and affecting interstate and foreign commerce,

a firearm, namely one      (l)   .32 caliber FEG semiautomatic pistol, serial number BK1827,

in violation   ofTitle   18, United States Code, Sections 922(9)(1) and924(a)(2).




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          f//rl      Zlt 2t13                        B. Todd J
                                                     United




                                                     BY: ALLENA.         S
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                                                     Assistant U.S. Attom6y
                                                     Attorney ID No. 301668




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